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                                       #:4548


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11
                              UNITED STATES DISTRICT COURT
12
                         CENTRAL DISTRICT OF CALIFORNIA
13
       UNITED STATES                              Case No. 2:23-CR-00599-MCS-1
14
                         Plaintiff,               Hon. Mark C. Scarsi
15
             v.                                   DEFENDANT’S REPLY IN
16
       ROBERT HUNTER BIDEN,                       SUPPORT OF HIS NOTICE OF
17                                                PARDON
                         Defendant.
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                      DEFENDANT’S REPLY IN SUPPORT OF HIS NOTICE OF PARDON
                                CASE NO. 2:23-CR-00599-MCS-1
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 1           The Special Counsel paradoxically claims that Mr. Biden’s notice is “without any
 2     legal support” in suggesting that his pardon1 means that the Court should dismiss the
 3     Indictment, at the same time the Special Counsel acknowledges that “‘the majority of
 4     courts, when faced with such a decision, have chosen to dismiss an indictment.’”
 5     DE237 at 3-4 (quoting United States v. Bannon, No. 20 Cr. 412 (AT), DE117). The
 6     Special Counsel’s admission that this is the practice of the “majority of courts” certainly
 7     provides legal support to Mr. Biden’s claim that dismissal is warranted.
 8           Further undermining the Special Counsel’s claim is his reliance upon an
 9     argument that he acknowledges has already been rejected. The Special Counsel repeats
10     the very argument that the government made in Bannon, that the Court should
11     administratively terminate the case, rather than dismiss the Indictment. But the Special
12     Counsel acknowledges that the Bannon court rejected that argument and dismissed the
13     indictment as to him. This Court should reject that same argument and dismiss the
14     Indictment as well.
15           While it is true that some courts have merely terminated proceedings against a
16     defendant, rather than dismiss the indictment—the course the Special Counsel favors
17     in this case—the “majority” rule in favor of dismissal that the Special Counsel
18     acknowledges is the better course here. The Special Counsel’s contrary argument that
19     the fact of Mr. Biden’s Indictment remains true despite the pardon is no reason not to
20     dismiss the Indictment. DE237 at 7. The fact that Mr. Biden has been indicted will
21     still remain true even with a dismissal of the Indictment, just as it would remain true
22     even if Mr. Bident had been acquitted at trial. Neither a dismissal nor an acquittal
23     eliminates the fact of indictment; they merely reflect that an indictment has been
24     resolved. The pardon here before sentencing prevents this case from running its course
25    1
        The Special Counsel claims not to have a copy of Mr. Biden’s pardon, which is
26    surprising. Our understanding was that the Pardon Attorney sent the Special Counsel a
      copy of the pardon and, in any event, the pardon is publicly available on the U.S.
27    Department of Justice’s own website.           See https://www.justice.gov/d9/2024-
      12/biden_warrant.pdf. A copy of the pardon is attached. (Ex. A.)
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                        DEFENDANT’S REPLY IN SUPPORT OF HIS NOTICE OF PARDON
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 1     based on the Indictment that was filed. The Court should reflect that by dismissing the
 2     Indictment and indicating—accurately—that is due to the pardon.
 3           The cases cited by the Special Counsel from this district are not to the contrary,
 4     but instead reflect different circumstances and time in the proceedings where a
 5     defendant has been pardoned after the defendant had been sentenced—often years later
 6     and after the sentence already had been served. DE237 at 5. By contrast, and as in
 7     Bannon, Mr. Biden has not been sentenced and no judgment has been entered in this
 8     case. Because no judgment has been or will be entered in this case, the appropriate
 9     resolution is to dismiss the Indictment while noting that is due to a pardon.
10
11     Dated: December 2, 2024                 Respectfully submitted,
12                                             /s/ Abbe David Lowell
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                        DEFENDANT’S REPLY IN SUPPORT OF HIS NOTICE OF PARDON
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 1                              CERTIFICATE OF SERVICE
 2          I hereby certify that on December 2, 2024, I filed the foregoing with the Clerk of
 3
      Court using the CM/ECF system, which will send a notification of such filing to all
 4
 5    counsel of record.

 6                                                   /s/ Angela M. Machala
 7                                                   Angela M. Machala
 8                                                   Counsel for Robert Hunter Biden
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